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     1                       UNITED STATES DISTRICT COURT
                             SOUTHERN DISTRICT OF FLORIDA
     2                             MIAMI DIVISION
                              CASE NO. 18-cv-60788-JEM
     3

     4     SPRINT COMMUNICATIONS, INC.,
                                  INC.,

     5           Plaintiff/Counterclaim Defendant,

     6           vs.

     7                                                     Miami, Florida
                                                           April 14, 2022
     8     STEPHEN CALABRESE, as an individual,            Pages 1-51
           NEXTEL, INC.,
                   INC., d/b/a NEXTEL WORLDWIDE,           2:04 p.m. - 3:27 p.m.
     9     RETROBRANDS USA LLC,
           JEFFREY KAPLAN, as an individual, and
    10     NEXTEL WORLDWIDE MOBILE, INC.,
                                    INC.,

    11          Defendants/Counterclaimants.
           _______________________________________________________________
    12
                                 TRANSCRIPT OF JURY TRIAL
    13                                    VOLUME 6
                           BEFORE THE HONORABLE JOSE E. MARTINEZ
    14                         UNITED STATES DISTRICT JUDGE

    15     APPEARANCES:

    16     FOR THE PLAINTIFF/COUNTERCLAIM DEFENDANT:
                                   McGuireWoods, LLP
    17                             BY: BRIAN C. RIOPELLE, ESQ.
                                   BY: LUCY J. WHEATLEY, ESQ.
    18                             BY: AMANDA L. DeFORD, ESQ.
                                   800 East Canal Street
    19                             Richmond, Virginia 23219

    20     FOR THE DEFENDANTS/COUNTERCLAIMANTS:
                                   Erickson Kernell IP
    21                             BY: JAMES
                                        JAMES J. KERNELL,
                                                  ERNELL, ESQ.
                                   8900 State Line Road
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                                   Lee & Amtzis, PL
    24                             BY: WAYNE SCHWARTZ, ESQ.
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          1    REPORTED BY:        DAWN M. SAVINO, R.P.R., C.R.R.
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                                   Miami, Florida 33128
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               ______________________________________________________________
2:04:53   4               (Jury in at 2:04 p.m.)

2:06:59   5               (Court called to order)

2:07:05   6               THE COURT:    You may be seated.    All right.    Next?

2:07:08   7               MR. SCHWARTZ:    At this time Your Honor, the Defendants

2:07:09   8    rest their case.

2:07:14   9               THE COURT:    All right.   What's next?    Do you have a

2:07:15 10     rebuttal case?

2:07:17 11                MR. RIOPELLE:    We would have a motion at this point,

2:07:17 12     Your Honor.

2:07:23 13                THE COURT:    Okay.   Guess what?   Go back into the jury

2:07:26 14     room because this is going to be a legal argument that's going

2:07:29 15     to take a while.

2:07:37 16                (Jury out at 2:07 a.m.)

2:07:39 17                THE COURT:    But they've got to do that in front of you.

2:07:43 18     That's why I had to call you back.

2:07:56 19                You may be seated.     Okay.   Door's closed.    You may

2:07:59 20     proceed.

2:08:12 21                MS. WHEATLEY:    Your Honor, pursuant to Rule 5082,

2:08:16 22     Plaintiff Sprint moves for judgment as a matter of law on the

2:08:19 23     following issues and claims.       I'd like to start with Defendants'

2:08:23 24     claim for reverse domain name hijacking, that is Count 10 Of

2:08:27 25     Defendants's amended counterclaims.        An essential element of



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2:08:33   1    reverse domain name hijacking is that the Defendants had a

2:08:33   2    domain name that was suspended, disabled or transferred away

2:08:37   3    from Defendants. Defendants did not put forth any evidence

2:08:42   4    whatsoever that any domain name belonging to Defendants was

2:08:46   5    suspended, disabled or transferred away.        That is a requirement

2:08:51   6    to maintain that claim under statute under 15 USC Section 1114

2:08:58   7    subsection two, subsection D, subsection little I, subsection

2:09:03   8    Roman numeral two, subsection V.

2:09:07   9               THE COURT:    All right.   Response, please?     Why don't

2:09:11 10     you do it from your table.

2:09:12 11                MS. WHEATLEY:    Do you want me to --

2:09:15 12                THE COURT:    I don't care.    You're there, it's your

2:09:15 13     motion.

2:09:17 14                MR. SCHWARTZ:    We have no opposition to that motion.

2:09:20 15                THE COURT:    All right.   So that's granted.

2:09:24 16                MS. WHEATLEY:    Next, Your Honor, Defendants alleged two

2:09:28 17     claims for tortious interference.        One for tortious interference

2:09:34 18     with contract which is Count 5, and one for tortious

2:09:39 19     interference with an advantageous relationship with Count 6.

2:09:43 20     Defendants put on no evidence of any contracts, and they put on

2:09:47 21     no evidence of any specific business relationships.          They also

2:09:49 22     obviously put on no evidence of breach since they put on no

2:09:53 23     evidence of any contracts.      Breach of contract is an essential

2:09:57 24     element for tortious interference with contract.

2:10:01 25                With respect to the advantageous business relationship



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2:10:04   1    expectancy, they did not put in evidence of any specific

2:10:09   2    business relationships were interfered with.         Instead, at most,

2:10:14   3    they generally alleged possible future lost relationships.           But

2:10:18   4    there was no specific testimony whatsoever and certainly no

2:10:20   5    specific testimony as to damages.

2:10:21   6               THE COURT:     Response?

2:10:23   7               MR. SCHWARTZ:     Your Honor, the Court has already ruled

2:10:27   8    on summary judgment on Counts 5 and 6 in our favor, and

2:10:30   9    indicated that the only issue for the jury was to determine the

2:10:33 10     Plaintiff's defense as to whether or not the interference was

2:10:38 11     unjustified.    That was dated 1-10-2022.

2:10:40 12                THE COURT:     Yeah, but you still have to present

2:10:42 13     evidence in front of the jury.

2:10:45 14                MR. SCHWARTZ:     In light of that, we -- our position is

2:10:50 15     that we presented evidence sufficient to support the claim of

2:10:56 16     the interference.       There was testimony by a number of witnesses

2:11:02 17     as to the cease and desist, the damages caused by Mr. Kaplan, he

2:11:06 18     mentioned the lost of distributors.        I believe we've put forth

2:11:13 19     sufficient evidence to support our prima facie case to send to

2:11:15 20     it the jury.

2:11:19 21                MS. WHEATLEY:     Your Honor, as you said, at summary

2:11:22 22     judgment the standards are not the same but they still have to

2:11:24 23     put forward evidence at trial.        There were no contracts put on

2:11:28 24     the record for the tortious interference with contract claim.

2:11:31 25                THE COURT:     What contract are we talking about?



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2:11:35   1               MS. WHEATLEY:    There were none put on the record.

2:11:37   2               THE COURT:    I'm asking.   What contract are we talking

2:11:37   3    about.

2:11:40   4               MR. SCHWARTZ:    The contracts between Nextel and its

2:11:43   5    distributors, and you have the contract between RetroBrands and

2:11:49   6    Nextel and that certainly was interfered with.

2:11:52   7               MS. WHEATLEY:    Your Honor, they have never alleged

2:11:58   8    interference between Nextel, Inc. and RetroBrands, nor can they

2:12:04   9    since they were acting as licensor/licensee.

2:12:11 10                THE COURT:    Well, I don't see any evidence that they've

2:12:15 11     proven that any third parties entered into business or

2:12:18 12     contractual relationship, or that Sprint intentionally

2:12:22 13     interfered with those relationships, nor that the Defendant

2:12:27 14     suffered damages as a result of Sprint's interference.          The only

2:12:31 15     thing that Defendants proved was that Sprint knew that

2:12:36 16     Defendants had relationships with third parties, and there's no

2:12:40 17     evidence through testimony, or otherwise, that would support a

2:12:44 18     jury finding that the Defendants had business or contractual

2:12:49 19     relationships that were interfered with.        Therefore, I find that

2:12:53 20     there is a lack of total evidentiary support for any of the

2:12:56 21     three elements that are necessary for that claim, so I'll

2:12:58 22     dismiss that claim.

2:12:59 23                Next?

2:13:01 24                MS. WHEATLEY:    Next Your Honor, Defendants alleged a

2:13:07 25     common law unfair competition claim as Count 9.         There are



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2:13:11   1    several concerns with this claim.       First, in the joint pretrial

2:13:17   2    order, they characterized the claim on Page 20 of the joint

2:13:21   3    pretrial order, disputed issue 17, as being based on falsely

2:13:25   4    informing the public and Defendants' distributors and customers

2:13:28   5    that Defendants are counterfeiters and thieves of the Nextel

2:13:29   6    mark.

2:13:32   7               First, we would argue this is simply restating the

2:13:37   8    defamation claim that was dismissed at summary judgment.

2:13:39   9               Next, we would point out that this does not in any way

2:13:43 10     meet the elements of a claim for common law unfair competition

2:13:48 11     under Florida law, which must allege deceptive or fraudulent

2:13:52 12     conduct of a competitor and a likelihood of consumer confusion.

2:13:56 13                And finally, we would note that their claim really

2:13:59 14     seems to be a claim of trademark misuse to the extent it is

2:14:03 15     based on cease and desist letters.        And again, those cease and

2:14:08 16     desist letters are not in evidence.        And this court, in Gapardis

2:14:11 17     Health and Beauty v Nouvelle Parfumerie Gandour, 2008 Westlaw,

2:14:19 18     1333426, found that there is no independent cause of action as

2:14:23 19     an unfair competition claim for trademark misuse.          The Middle

2:14:27 20     District of Florida found the same thing in Whitney Information

2:14:35 21     Network V Gagnon, 553 F Supp 2d, 1208, 1212 Middle District of

2:14:37 22     Florida, 2005.

2:14:46 23                THE COURT:    Counsel?   Response?

2:15:12 24                MR. SCHWARTZ:    Our response would be that we believe we

2:15:15 25     put forth sufficient evidence to send that issue to the jury,



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2:15:17   1    Your Honor.

2:15:23   2               THE COURT:    I do not believe that there's sufficient

2:15:26   3    evidence for this claim to go to the jury.          I'll grant the

2:15:28   4    motion.

2:15:30   5               Next.

2:15:33   6               MS. WHEATLEY:    Your Honor, since Defendants' tortious

2:15:39   7    interference claims and common law unfair competition claims

2:15:42   8    have been dismissed, we would also say that there are no damages

2:15:44   9    claims left for Defendants that can go to the jury, including

2:15:48 10     their claim for punitive damages which would have to be based on

2:15:53 11     some underlying tort, and those are now gone.

2:15:56 12                THE COURT:    Given my rulings, what is the basis for any

2:16:02 13     money damages claim to go to the jury for the Defendants?            I

2:16:05 14     know you disagree with my rulings, but based on my rulings, what

2:16:12 15     is it?    I don't think you've got anything left.

2:16:13 16                MR. SCHWARTZ:    We're stuck with your rulings, Your

2:16:14 17     Honor.

2:16:17 18                THE COURT:    Okay.   I'll grant that.     I don't think

2:16:21 19     there's money damages to go.       That will be dealt with in the

2:16:28 20     instructions and the judgment or the verdict form.

2:16:32 21                MS. WHEATLEY:    Next Your Honor, we come to Defendants'

2:16:37 22     fraud on the USPTO claim with respect to the 1,884,244

2:16:46 23     registration.      So the elements for fraud, the first thing to

2:16:49 24     note is that Defendants had to prove fraud by clear and

2:16:52 25     convincing evidence, and any doubts as to the evidence must be



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2:16:56   1    resolved against Defendants.         Elements are that the challenged

2:17:01   2    statement was a false representation regarding a material fact,

2:17:03   3    the person making the representation knew that the

2:17:08   4    representation was false, and intent to deceive the USPTO

2:17:14   5    reasonable reliance on the misrepresentation and damage

2:17:16   6    proximately resulting from such reliance.

2:17:23   7               So there has -- as an initial matter, Your Honor, the

2:17:29   8    challenged renewal, the 2015 renewal, the 244 registration is

2:17:34   9    not an evidence.     Ms. Jobe's testimony regarding that renewal

2:17:39 10     was consistent that she did not commit fraud, she submitted what

2:17:45 11     she believed to be a genuine box.         That testimony has been

2:17:49 12     supported by production of that box into evidence as Exhibit 38

2:17:53 13     at trial, and Mr. Shaughnessy's unrebutted testimony that that

2:17:59 14     precise product was sold between 2013 and 2019.         So there's

2:18:03 15     simply no record evidence here to support that anyone

2:18:07 16     intentionally deceived the USPTO with respect to the specimen of

2:18:11 17     use that was submitted.

2:18:13 18                THE COURT:     Counsel?

2:18:16 19                MR. KERNELL:     Your Honor, with the respect to fraud on

2:18:20 20     the trademark office, there was sufficient evidence produced in

2:18:27 21     Ms. Jobe's deposition testimony.         She said that this was a box

2:18:32 22     with a 2013 date.       The box was empty when she got it.     She did

2:18:37 23     not verify that that particular device was, in fact, being sold

2:18:43 24     at the time.    She just said Sonim Strikes are, in general, being

2:18:48 25     sold, but not that particular one, nor with the Nextel trademark



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2:18:51   1    on it.    The same thing with Mr. Shaughnessy's deposition

2:18:57   2    testimony.    Or his testimony.     He did not establish that any of

2:19:01   3    those devices that had that label on it, the Nextel on it were

2:19:06   4    in fact being sold in that time frame.        There is no other

2:19:11   5    evidence other than a box that is dated 2013 that Ms. Jobe said

2:19:16   6    was empty.    So I think that does raise and it does -- there is a

2:19:21   7    question of fact there that the jury needs to decide.

2:19:23   8               MS. WHEATLEY:     Your Honor, Ms. Jobe's testimony, which

2:19:29   9    Defendants played, was when they asked her do you know why a

2:19:33 10     specimen from 2013 was being used for Section 8 and 9 in the

2:19:39 11     declaration in 2015?       She responded it was not a 2013 box, it

2:19:43 12     was a current box in 2015 when I filed it.         The copyright notice

2:19:47 13     just hadn't been changed since 2013 and I didn't catch it, but

2:19:50 14     this box was directly from our, you know, product team of what

2:19:52 15     was currently being offered in 2015.

2:19:55 16                Did you verify this box or this phone with the 2013 box

2:19:59 17     was actually being sold was in retail stores?         It was not in

2:20:00 18     retail stores.

2:20:02 19                Where was it?     It was available for purchase by

2:20:04 20     businesses.

2:20:10 21                THE COURT:    Strangely enough among all of this stuff,

2:20:12 22     that's the one bit of testimony that I remember hearing or

2:20:17 23     reading or being read to.       I think that she did say that, but

2:20:23 24     how does that resolve the matter?       If they don't believe her, I

2:20:28 25     mean, it looks awfully weak to me, but it does seem to me that



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2:20:30   1    they have something there.        You don't have anything there at

2:20:31   2    all?

2:20:33   3                MS. WHEATLEY:     No, Your Honor, because they base burden

2:20:38   4    to prove by clear and convincing evidence that Ms. Jobe had an

2:20:42   5    intent to deceive the USPTO and that the representation was

2:20:46   6    false.     They have not put forth any evidence whatsoever as to

2:20:51   7    Ms. Jobe's intent to deceive the US USPTO.           In fact, Mr. Kernell

2:20:59   8    just argued that at most she asked for a box, it didn't have a

2:21:04   9    phone in it, and she didn't disbelieve her product team that it

2:21:08 10     was in fact a genuine box.        That could no case arise to an

2:21:10 11     intent to deceive.

2:21:11 12                 THE COURT:     Counsel?

2:21:13 13                 MR. KERNELL:     Your Honor, that's exactly the intent to

2:21:18 14     deceive.     She knew the box was empty.        She knew it didn't have a

2:21:19 15     phone in it.

2:21:20 16                 THE COURT:     So what?

2:21:23 17                 MR. KERNELL:     That is the intent, and now she's using

2:21:26 18     that as a specimen making the representation under declaration

2:21:30 19     that that product was in fact being sold at the time.

2:21:33 20                 THE COURT:     The product that was in that box?

2:21:35 21                 MR. KERNELL:     There was no product in the box.

2:21:37 22                 THE COURT:     She had to send them the product itself.

2:21:43 23     The product that goes into that box was being sold at that time.

2:21:44 24                 MR. KERNELL:     Well --

2:21:45 25                 THE COURT:     Isn't that enough?



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2:21:46   1              MR. KERNELL:     No, that's not enough.

2:21:47   2              THE COURT:     Why.

2:21:49   3              MR. KERNELL:     Because she did not verify that there was

2:21:54   4    in fact a product.      Anybody can print a box.     You can have a box

2:21:57   5    sitting around, but to show that that is actually being sold --

2:22:03   6              THE COURT:     Anybody can send a nonexistent or an old

2:22:08   7    instrument to them too, but she said this box represents the

2:22:13   8    stuff that was in it and we were selling it at that time.          The

2:22:16   9    fact that it says 2013 doesn't mean anything, because some of

2:22:22 10     the boxes had that, some of them had 2014, some of them had

2:22:24 11     whatever the current date was.

2:22:25 12               MR. KERNELL:     Your Honor, she also testified that the

2:22:32 13     shelf life of those phones are less than one year typically and

2:22:34 14     that she --

2:22:35 15               THE COURT:     Absolutely not.

2:22:36 16               MR. KERNELL:     She did.

2:22:39 17               THE COURT:     You guys misstate that evidence really

2:22:44 18     easily.   What she said was that cellphones are -- have a shelf

2:22:48 19     life of one year.      These phones have a shelf life that is

2:22:52 20     substantially longer.      That's what she said.

2:22:54 21               MS. WHEATLEY:     Precisely, Your Honor.     Ms. Jobe did not

2:22:58 22     testify these only had a shelf life of one year, and

2:23:02 23     Mr. Shaughnessy testified that these phones actually had a quite

2:23:02 24     --

2:23:04 25               THE COURT:     What color is the sky in the world that



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2:23:08   1    you're quoting from, because that's clearly not what she said.

2:23:12   2    I mean, I don't remember a lot of stuff like what I had for

2:23:15   3    breakfast, but I certainly remember the testimony that was read

2:23:19   4    not all that long ago and you were reading it.         Or you were

2:23:22   5    reading the questions.     She did not say that the shelf life of

2:23:28   6    the equipment that was represented by this box was one year.

2:23:30   7    Absolutely not.

2:23:33   8              MR. KERNELL:     It was in the context of when we were

2:23:37   9    talking about the box.     I asked her what was -- what's the shelf

2:23:42 10     life, the typical shelf life and it's in that same -- it's

2:23:47 11     within that same page I believe, if I can get the testimony back

2:23:50 12     up.

2:23:54 13               THE COURT:     All right.   Let's find that.    I'm curious.

2:23:57 14     What page are we talking about?

2:23:58 15               MR. KERNELL:     I believe it's --

2:24:00 16               THE COURT:     I don't believe that.

2:24:04 17               MS. WHEATLEY:     Yes, Your Honor.     I can read starting at

2:24:11 18     Page 80 where it's talking about shelf life.        Takes a little

2:24:12 19     bit, but copyright notice on the Sonim devices, is that

2:24:14 20     something that Sprint directs Sonim to change or --

2:24:14 21               THE COURT REPORTER:     Can you slow down?

2:24:18 22               THE COURT:     Slow down, yes.   No nervous breakdown for

2:24:19 23     my court stenographer.

2:24:22 24               MS. WHEATLEY:     I apologize.   Is that something that

2:24:26 25     Sprint directs Sonim to change or is that something Sonim



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2:24:30   1    changes on its own?        Package is done collaboratively with the

2:24:34   2    Sonim.     Both teams would have reviewed it.     So this is a device

2:24:38   3    that is now -- it's not a 2014 device, it's not a 2015 device,

2:24:43   4    or it doesn't have a 2014 copyright.        It doesn't have a 2015

2:24:44   5    copyright.

2:24:48   6                How often does Sprint and Sonim team review these

2:24:52   7    labels, and that's Mr. Kernell's question.        It says typically

2:24:53   8    the lifespan of a device does not span multiple years.          We

2:24:57   9    typically review the packaging when a device first comes out and

2:25:01 10     it pretty much stays that way until the end of life.         So it will

2:25:05 11     remain 2013 copyright notice on it until the end -- to the end

2:25:07 12     of life.

2:25:10 13                 So Ms. Jobe was talking about do they change the

2:25:15 14     copyright date.     And it's important to note that Ms. Jobe was

2:25:17 15     mistaken as to the meaning of the copyright date here.          The

2:25:22 16     copyright date is required to be the date of publication.             So if

2:25:27 17     the text on the box does not change, it will not change.

2:25:29 18                 MR. KERNELL:     Your Honor, there's no testimony as to

2:25:34 19     what Ms. Jobe's understanding of copyright law is and she is an

2:25:37 20     intellectual property attorney, I'm sure she is very well-versed

2:25:41 21     in copyright law.     This is very specifically talking about the

2:25:45 22     Sonim XP Strike box and when did they change.        And we asked, you

2:25:49 23     know, that she reviews these boxes, and that -- in that same

2:25:53 24     context it's saying that they have less than a year of shelf

2:25:56 25     life.



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2:25:57   1               THE COURT:     Well --

2:25:59   2               MS. WHEATLEY:     She was clearly talking -- the question

2:26:03   3    was about the copyright notice which has to do with the text on

2:26:06   4    the box.   When that is changed.

2:26:10   5               MR. KERNELL:     It's talking about a date that is printed

2:26:18   6    on these boxes.    I believe that is sufficient evidence to bring

2:26:20   7    this forward to the jury.

2:26:21   8               THE COURT:     What she said was the devices don't

2:26:26   9    typically last multiple years.         These are rare devices.    Typical

2:26:30 10     life span for a device is less than a year.

2:26:32 11                And do you know if this is still being sold?          We have

2:26:36 12     Sonim devices that are currently for sale.         There are multiple

2:26:39 13     models, and it's very specific and she's not sure that it's

2:26:43 14     still currently for sale.

2:26:45 15                MR. KERNELL:     Your Honor, I believe the Court is

2:26:49 16     supposed to consider all evidence in light or favorable in light

2:26:52 17     of the nonmoving party, and I believe that there is an inference

2:26:55 18     here, these are factual issues for the jury to decide whether or

2:26:56 19     not she was --

2:26:58 20                THE COURT:     All right.     I'll deny the motion on that

2:26:59 21     basis.

2:27:01 22                MS. WHEATLEY:     Well Your Honor, may I address --

2:27:05 23                THE COURT:     Sure.     You can address whatever you'd like.

2:27:08 24     That's what you're up there -- you got the podium or the

2:27:08 25     lectern.



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2:27:10   1               MS. WHEATLEY:     They do give all references to the

2:27:13   2    nonmoving party, but they still bear the burden of proof on

2:27:16   3    fraud to show by clear and convincing evidence and intent to

2:27:17   4    deceive.

2:27:19   5               THE COURT:     Isn't that up to the jury to decide whether

2:27:23   6    it's clear and convincing?       Am I the one to decide that?

2:27:25   7               MS. WHEATLEY:     They have not identified any evidence of

2:27:30   8    an intent to deceive.       The question about if the box had a 2013

2:27:35   9    copyright date, which is frankly not disputed, how does that

2:27:37 10     connect to an intent to deceive?

2:27:41 11                THE COURT:     Explain how that shows fraud.

2:27:45 12                MR. KERNELL:     I'm sorry?

2:27:47 13                THE COURT:     Explain how the date, the copyright date

2:27:51 14     proves fraud or moves the ball on fraud.

2:27:54 15                MR. KERNELL:     The copyright date in and of itself does

2:27:58 16     not.   It is a date.      There is a date on a box that is two years

2:28:01 17     prior to when she made the declaration to the trademark office.

2:28:04 18     The intent -- and I asked her that very directly, that we have

2:28:11 19     alleged fraud in this case and that if someone committed fraud

2:28:12 20     it would be her.

2:28:13 21                THE COURT:     And she said no.

2:28:16 22                MR. KERNELL:     Well, of course she's going to say no.

2:28:18 23                THE COURT:     The question is not evidence.    The question

2:28:22 24     isn't evidence, what is the evidence of the fraud?

2:28:25 25                MR. KERNELL:     The evidence of the fraud is that she



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2:28:31   1    submitted a box from 2013, an empty box with no device in it and

2:28:36   2    it's the device, it's not the box, that is what's going to

2:28:42   3    verify that these products are being sold under the trademark,

2:28:46   4    that she submitted that to the trademark office without

2:28:50   5    verifying that that product itself was indeed being sold.          I

2:28:53   6    also went through -- there are a number of other --

2:28:55   7              THE COURT:     I thought she said that it was being sold,

2:28:59   8    that Sonim XP, whatever in the world it is, was being sold.

2:29:04   9    That they had Sonim XP models that were still being sold.

2:29:06 10               MR. KERNELL:     She did not tie that back --

2:29:08 11               MS. WHEATLEY:     Yes, Your Honor, she did --

2:29:10 12               MR. KERNELL:     Your Honor, if I may address and let me

2:29:11 13     -- I believe that question was to me.

2:29:16 14               THE COURT:     Yeah, it was to you.    Go ahead answer it.

2:29:20 15               MR. KERNELL:     Yes in general Sonim XP were being sold

2:29:24 16     by Sprint.    She did not tie any of those statements back to

2:29:29 17     Nextel.   Plus I went through all the different devices that are

2:29:32 18     on this registration, and repeatedly she said no, that's not

2:29:35 19     sold; no, that's not sold.

2:29:38 20               MS. WHEATLEY:     Your Honor, that is completely

2:29:40 21     incorrect.

2:29:42 22               THE COURT:     It's irrelevant because you asked her a

2:29:45 23     question if it was being sold in 2019.

2:29:47 24               MR. KERNELL:     I did ask that question at one time, but

2:29:49 25     I went also back to the earlier date.



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2:29:51   1              THE COURT:     The ones right here, it says do you know if

2:29:59   2    the Sonim XP is currently being sold by Sprint.         We have Sonim

2:30:08   3    devices that are currently on sale.       There are multiple models.

2:30:10   4              MS. WHEATLEY:     Your Honor, Ms. Jobe confirmed very

2:30:18   5    clearly Page 190 of her transcript the Defendants read, Mr.

2:30:21   6    Kernell asked, I believe you testified earlier today that you

2:30:24   7    weren't sure whether or not Sprint had current sales of the

2:30:29   8    Sonim XP Strike IS.      What did you mean by current?     What time

2:30:30   9    period were you referring to?

2:30:31 10               THE COURT:     2019.

2:30:33 11               MS. WHEATLEY:     2019.   She said the sales numbers were

2:30:36 12     not available.     And then he asked are you aware of whether

2:30:41 13     Sprint has had sales of the Sonim XP Strike IS from 2013 every

2:30:46 14     year from 2013 to 2018.      Yes.   They've had sales of Sonim Strike

2:30:51 15     IS every year from 2013 to 2018.       Yes.

2:30:52 16               THE COURT:     Was that read to the jury?     I don't

2:30:53 17     remember that.

2:30:56 18               MS. WHEATLEY:     That was read to the jury, Your Honor.

2:30:57 19               MR. KERNELL:     Your Honor, but that does not tie it back

2:31:02 20     to the trademark registration of Nextel.        That says Sprint has

2:31:06 21     sold these.     It doesn't say that they have sold them under the

2:31:06 22     Nextel brand.

2:31:09 23               MS. WHEATLEY:     Your Honor, his decision not to phrase

2:31:13 24     the question is asking about Nextel does not provide evidence of

2:31:17 25     fraud.   The box in question, which was talked about throughout



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2:31:22   1    the deposition, was the Sonim XP Strike IS.         And I note that

2:31:26   2    Defendants have not produced evidence of any Sonim XP Strike IS

2:31:33   3    that does not say Nextel.         All of those boxes say Nextel.   There

2:31:38   4    has been no version of that that does not say Nextel.

2:31:41   5              MR. KERNELL:     There's absolutely no evidence in the

2:31:46   6    record that shows that all these boxes include Nextel on them.

2:31:51   7    In fact, there is evidence in the record of other demonstratives

2:31:54   8    where there is not Nextel on the box.

2:31:58   9              MS. WHEATLEY:     A lack of evidence does not -- sorry.

2:32:00 10               MR. KERNELL:     Your Honor, again, I go back to there is

2:32:05 11     testimony throughout these 200 pages of deposition, the

2:32:09 12     transcript, that there are -- you know, we're grabbing certain

2:32:13 13     words and saying well, they sold this Sonim phone in 2019.            But

2:32:19 14     that wasn't the question as to what she did in 2015, and I again

2:32:22 15     reiterate that the Court must consider all evidence favorable --

2:32:25 16               THE COURT:     Wait, wait.     They read the part, the other

2:32:29 17     part at the end where she said that it was sold 2013, 2014,

2:32:34 18     2015, through 2018 I believe it was.

2:32:36 19               MR. KERNELL:     Yes.     And the jury can consider all that

2:32:41 20     evidence because she does have an overarching interest in that.

2:32:44 21               THE COURT:     Where does it say that it wasn't sold in

2:32:51 22     2015?   Where is there any evidence that this box was fraudulent?

2:32:52 23               MR. KERNELL:     It's not -- we're not saying that the box

2:32:54 24     is fraudulent.

2:32:57 25               THE COURT:     Where are we saying that she committed



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2:33:02   1    fraud upon the company?       I mean upon the governmental agency by

2:33:03   2    doing what?

2:33:08   3                MR. KERNELL:     She submitted a specimen with a 2013 date

2:33:15   4    to the US Patent and Trademark Office without verifying that the

2:33:21   5    device was in fact being sold that goes with that box.           The box

2:33:26   6    was empty.     This could be a box out of their art room.

2:33:29   7                THE COURT:     But she said that device was being sold at

2:33:33   8    the time that it was submitted.       Right?      That's what they just

2:33:37   9    read into the record on Page 190 something.           And it was read to

2:33:42 10     the jury.     The only evidence that we have at this point is that

2:33:48 11     in 20, whatever it was, 15, when was it submitted --

2:33:49 12                 MS. WHEATLEY:     2015, Your Honor.

2:33:51 13                 THE COURT:     2015, she submitted this box as an example

2:33:57 14     of what they were using, which had label on it of Nextel and

2:34:01 15     that it was in fact being sold.       When you initially asked the

2:34:06 16     question, you asked her if she checked to see if that -- I don't

2:34:10 17     remember exactly what it was that you were asking, but I don't

2:34:15 18     think it proves fraud.       It doesn't prove anything.      It doesn't

2:34:21 19     move it at all.     It doesn't move the case one way or the other.

2:34:25 20     But then later she comes in and before it's also it's submitted

2:34:29 21     to them, that she -- that it was definitely being sold at the

2:34:34 22     time 2015.     So I don't see the fraud at all.        What's the fraud?

2:34:39 23     That she submitted a box that had 2013 on it in 2015?

2:34:45 24                 MR. KERNELL:     Her testimony did not state that a Sonim

2:34:51 25     XP phone or radio was being sold with the Nextel brand, I don't



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2:34:54   1    believe, at that time.        She's saying yes, those devices were

2:34:55   2    being sold.

2:34:57   3                THE COURT:     And this box had --

2:35:00   4                MR. KERNELL:     This is a Nextel branded from 2013.      We

2:35:05   5    had testimony from Mr. Shaughnessy that hey, there were --

2:35:10   6    everything was transitioning over to the Sprint network, which

2:35:14   7    in 2013 that box would have still been -- or the phone would

2:35:20   8    still be allowed to be on or could be on an iDEN network and

2:35:26   9    Nextel device, but not after June 30, 2013.

2:35:28 10                 MS. WHEATLEY:     Your Honor --

2:35:31 11                 MR. KERNELL:     So you couldn't use that on an iDEN

2:35:32 12     network at this time.

2:35:33 13                 MS. WHEATLEY:     Your Honor, Defendants bear the burden

2:35:38 14     of showing fraud.        Saying that there is a lack of evidence in

2:35:39 15     their own --

2:35:41 16                 THE COURT:     Fraud has a very high standard.

2:35:42 17                 MR. KERNELL:     I understand, Your Honor.

2:35:44 18                 THE COURT:     And I don't believe you've met that

2:35:46 19     standard.     I'm going to grant the motion.

2:35:48 20                 Next.

2:35:52 21                 MS. WHEATLEY:     Thank you, Your Honor.     So that brings

2:35:59 22     us to Defendants' abandonment claim.          Now their abandonment

2:36:03 23     claim is their declaratory judgment for abandonment of Nextel

2:36:08 24     Count 1, their cancellation Count 2, and their chirp

2:36:10 25     cancellation and abandonment Count 8.



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2:36:13   1              Now, I'd like to start with the chirp, because I don't

2:36:16   2    even think we need to get into the elements because there was no

2:36:19   3    evidence introduced whatsoever that Sprint has ever stopped

2:36:24   4    using the chirp mark.     No witness testified to that, and many

2:36:28   5    witnesses testified that the chirp has been used continuously.

2:36:29   6              THE COURT:    All right.   Tell me what evidence there is

2:36:32   7    that the chirp has been abandoned.

2:36:33   8              MR. SCHWARTZ:    There was no evidence that they put

2:36:36   9    forth that they actually were using the chirp, Your Honor.            In

2:36:40 10     any device.    They didn't present one device that played that

2:36:42 11     chirp, not one.

2:36:45 12               MS. WHEATLEY:    Your Honor, Mr. Wiley demonstrated the

2:36:50 13     chirp with a device here in front of the jury.        Those devices

2:36:52 14     were submitted into evidence.

2:36:54 15               THE COURT:    I heard the chirp and I didn't really want

2:37:04 16     to hear the chirp.     What evidence is there that the chirp has

2:37:07 17     been abandoned?

2:37:09 18               MR. SCHWARTZ:    That's the evidence, Your Honor.       We're

2:37:12 19     disputing that that is a Nextel branded device.         That device was

2:37:16 20     just created, just labeled right in the middle of this lawsuit,

2:37:20 21     the one and only phone that they walked in and slapped a label

2:37:24 22     on and said oh, that's a Nextel phone.       That's it.    That was

2:37:27 23     their sum and substance.

2:37:29 24               MS. WHEATLEY:    No, Your Honor.     We had testimony from

2:37:32 25     multiple witnesses, including Mr. Wiley and Mr. Shaughnessy,



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2:37:36   1    that devices with the Nextel chirp have been sold continuously

2:37:43   2    since I believe the late 90s.      There was no suggestion that

2:37:46   3    there was any gap.      They testified to millions of dollars of

2:37:52   4    sales in devices with the Nextel chirp, and because we have a

2:37:57   5    registered trademark, we have a presumption of ownership and

2:38:01   6    exclusive right to use.      Defendants bear the burden to come

2:38:01   7    forth --

2:38:04   8               THE COURT:    I find that there is no evidence that -- no

2:38:06   9    evidence indicating that the chirp has been abandoned in any

2:38:07 10     way.

2:38:09 11                Next?

2:38:11 12                MS. WHEATLEY:    Thank you.   So that brings us --

2:38:13 13                THE COURT:    You don't have to thank me.     I get paid to

2:38:15 14     do this.

2:38:19 15                MS. WHEATLEY:    That brings us to Defendants'

2:38:23 16     abandonment claim with respect to Nextel.        Now, I'd like to go

2:38:27 17     through the burden of proof here, because I believe it is very

2:38:31 18     important in this case.      I'm setting aside the issue of whether

2:38:35 19     it is preponderance or a strict burden.        We do believe it is a

2:38:38 20     strict burden, but under either burden, I believe there's not

2:38:43 21     enough evidence of abandonment here to go to the jury.

2:38:49 22                Now, to prove abandonment, there are two elements.        The

2:38:53 23     Plaintiff has ceased using the mark in dispute, and that he has

2:38:57 24     done so with the intent not to resume use.        Because Sprint has

2:39:03 25     an incontestable registration for Nextel, and they put certified



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2:39:07   1    copy of that registration in, Sprint has met its first initial

2:39:13   2    burden as the Plaintiff to prove rights in the mark.         In a

2:39:16   3    normal infringement suit, this could be entirely sufficient to

2:39:19   4    establish Sprint's rights in the mark without putting forward

2:39:20   5    any evidence of use.

2:39:25   6                So now the burden shifts to Defendants to overcome the

2:39:29   7    presume created by the registration.       Defendants have to start

2:39:35   8    by making a prima facie case for abandonment.        If they make that

2:39:39   9    prima facie case, and only if they make that prima facie case,

2:39:44 10     Sprint then bears the burden of production to prove use and the

2:39:48 11     Defendants bear the final burden of persuasion.

2:39:54 12                 So we're starting here with Defendants having to make

2:40:02 13     their prima facie case.     Now, in order to do that, they have to

2:40:05 14     make a prima facie case of both that Sprint is not using the

2:40:11 15     mark and has entirely stopped using the mark, and then also that

2:40:15 16     Sprint has no intent to resume use, that they intended to

2:40:17 17     abandon the mark.

2:40:21 18                 Now, for the first prong, they have not met it.         They

2:40:26 19     have not shown that Sprint stopped using Nextel.         Sprint has put

2:40:30 20     forward unrebutted evidence of continuous use of Nextel and

2:40:34 21     testimony from both third parties, Mr. Kohman from Motorola who

2:40:38 22     is not a Sprint employee, and Sprint employees that the use of

2:40:42 23     Nextel has been continuous and was going on during the years in

2:40:44 24     question.

2:40:50 25                 They also have to make their even prima facie case,



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2:40:55   1    they have to put forward evidence of no intent.         The way they

2:41:00   2    can do that is either they can show no use for three consecutive

2:41:05   3    years, or they can prove circumstances that allow you to infer

2:41:09   4    an intent not to resume use.        So we are still at their prima

2:41:14   5    facie burden.     There is no evidence on the record that gets them

2:41:21   6    to either of these points.      They have not shown a three-year

2:41:24   7    gap.   Sprint's witness's testimony, Mr. Kohman's testimony as a

2:41:28   8    third-party of continuous use, is unrebutted.        Mr. Kohman

2:41:34   9    testified that in 2014 when Defendants are claiming that Sprint

2:41:38 10     intended to abandon Nextel, that Sprint did not intend to

2:41:42 11     abandon Nextel and instead developed plans to use it with its

2:41:46 12     businesses services which is B-to-B marketing on sales

2:41:50 13     presentations and at trade shows and pitches and to use it on

2:41:55 14     its rugged devices.     So Mr. Kohman established that when

2:41:57 15     Defendant said there was an intent to abandon, there was no

2:41:58 16     intent to abandon.

2:42:02 17                 Next we had multiple Sprint witnesses and documentary

2:42:08 18     evidence of the Nextel shown on sales presentations, Nextel

2:42:13 19     shown on boxes.     This was unrebutted.     Now, Defendants, and we

2:42:16 20     didn't even have to show use, Defendants were required to show

2:42:21 21     that gap.     They showed no gap.     Defendants were required to show

2:42:24 22     intent.     They showed no intent.

2:42:26 23                 And on the question of circumstantial evidence they've

2:42:31 24     put forward nothing.     The only evidence in the record that I can

2:42:39 25     see is the 10-Ks, which are not in any way evidence of Sprint's



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2:42:43   1    intent to use a trademark, and they establish no link between

2:42:48   2    the 10-Ks and Sprint's subjective intent to use or not use a

2:42:49   3    trademark.

2:42:53   4               The only other evidence was testimony that the iDEN

2:42:58   5    network was shut down.     That again establishes nothing about

2:43:01   6    Sprint's intent with respect to the Nextel trademark.         And I

2:43:06   7    believe we stop there because they have not met that prima facie

2:43:06   8    burden.

2:43:10   9               At the summary judgment stage, Defendants put in a

2:43:13 10     great deal of hearsay evidence which was appropriate to consider

2:43:18 11     then because at summary judgment, you can make the assumption

2:43:21 12     that they will admit it at trial.       But they did not do so.       They

2:43:26 13     were unable to authenticate any of that evidence, none of it

2:43:31 14     came in, so there is really nothing here that would allow a jury

2:43:36 15     to infer an intent not to resume use.       The only testimony is Mr.

2:43:42 16     Kaplan's subjective research that he believed they were not

2:43:45 17     using.    Mr. Kaplan had no personal knowledge of Sprint's

2:43:50 18     activities.     Mr. Calabrese, our other witness, admitted both

2:43:55 19     that he had no knowledge of whether Sprint was using Nextel, and

2:44:00 20     he also admitted that in the time period where he said it was

2:44:04 21     abandoned, that it was in fact probable that Sprint was still

2:44:06 22     using Nextel.

2:44:09 23                We've also got evidence on the record that in the same

2:44:13 24     years that Mr. Kaplan was claiming he was searching the internet

2:44:17 25     and not finding any evidence of Nextel, we've got evidence that



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2:44:22   1    there were web pages that on Sprint's website that said Nextel.

2:44:27   2                We also have the use at trade shows.         Each year from

2:44:33   3    2017 to 2019, including the year the Defendants first intended

2:44:39   4    and infringed.     Again, Defendants bear this prima facie burden.

2:44:45   5    They've got to put forward some evidence of abandonment.           They

2:44:50   6    can't just create an inference and demand that Sprint prove use.

2:44:54   7    They've put forward nothing, so they haven't met their prima

2:44:57   8    facie burden and so we can't proceed on even to the next

2:44:58   9    question.

2:45:02 10                 THE COURT:     All right.   Counsel?

2:45:08 11                 MR. KERNELL:     Yes, Your Honor.      On evidence of or

2:45:14 12     unrebutted evidence of continuous use, that's simply not the

2:45:19 13     case.   We did have testimony that showed that they searched for

2:45:23 14     it, they looked.     Mr. Calabrese, Mr. Kaplan testified that they

2:45:29 15     did not find any use in the market at that time.           That since the

2:45:32 16     shutdown of the iDEN network, that there may have been devices

2:45:37 17     floating around but it was already shut down.           They were not on

2:45:40 18     the Nextel network anymore.

2:45:42 19                 Sprint produced not a single device to show.         The only

2:45:50 20     device that they produced was in a device dated 2013, there's no

2:45:52 21     devices in between.

2:45:54 22                 THE COURT:     Between where and where?

2:45:58 23                 MR. KERNELL:     Between 2013 and when the lawsuit or --

2:46:03 24     in this lawsuit, that they produced, there was a CAT device that

2:46:08 25     was produced that has, I believe, a 2022 date on it.           All you



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2:46:15   1    have to do is show an intent to abandon for three years.          There

2:46:20   2    was -- Mr. Kaplan testified at length that he did research, he

2:46:22   3    looked, he went to various places.

2:46:30   4              The website that Ms. Wheatley talks about, the Sprint

2:46:32   5    website, that was from the Wayback Machine.        That wasn't even

2:46:37   6    from the Sprint website.     And the testimony from --

2:46:40   7              THE COURT:     It was the Wayback Machine of the Sprint

2:46:42   8    website, right?

2:46:44   9              MR. KERNELL:     Yes, it was of the Sprint website.

2:46:45 10               THE COURT:     Isn't that the relevant -- I mean, what

2:46:49 11     they're doing now is, you know, is interesting, but if you're

2:46:53 12     talking about three years, they need to go back, don't they?

2:46:57 13               MR. KERNELL:     Right.   But Mr. Kaplan testified that he,

2:47:00 14     in fact, went to those same spots and it was dead.         There was

2:47:05 15     nothing there.     These were old, there was products -- when he

2:47:09 16     clicked on the product that said Nextel, it brought you to a

2:47:15 17     smartphone page.     The same thing with Mr. Kaplan.      He testified

2:47:24 18     the same or with the same testimony, I think Mr. Kaplan went to

2:47:27 19     stores, they said there were no products there.

2:47:30 20               The documents that they're talking about using were

2:47:36 21     these -- were some legacy documents, some legacy PowerPoint

2:47:42 22     presentations that Judge Snow in her recommendations to the

2:47:49 23     Court, it was actually filed, I believe in her report having to

2:47:58 24     do with the Rule 11 motion, stated that she had found that sales

2:48:02 25     presentations and PowerPoints are not trademark use.         That's not



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2:48:05   1    evidence of trademark use.

2:48:11   2               I believe Ms. Wheatley said that Nextel showed sales

2:48:14   3    documents.     I don't believe any sales documents -- there's no

2:48:18   4    sales numbers or things that are in this case.        There are none

2:48:23   5    in this case.     They didn't show any Nextel on -- again, on any

2:48:31   6    boxes from a date of 2013 all the way up to 2022.         That is

2:48:35   7    sufficient evidence to show an intent to abandon.         There's more

2:48:37   8    than three years there.

2:48:39   9               MS. WHEATLEY:   Your Honor, Mr. Shaughnessy's testimony

2:48:45 10     was unrebutted.     That precise box that said Nextel had been sold

2:48:52 11     from 2013 through 2019.     That was never controverted.      He

2:48:54 12     testified that he knew the sales, they were in the millions of

2:48:57 13     dollars.     So that is simply not true that Defendants put forth

2:49:00 14     evidence of the gap.

2:49:03 15                But even setting aside the boxes, Defendants have

2:49:07 16     provided no rebuttal as to the evidence that was regularly in

2:49:11 17     use in trade shows, which is trademark use, its use in

2:49:14 18     connection with the sale of goods and services.

2:49:17 19                But most importantly, this evidence that Sprint was

2:49:21 20     using Nextel, the key is not whether or not it is trademark use;

2:49:26 21     the key is can you use it to support an intent not to resume

2:49:31 22     use, an intent to abandon the mark, the intent to throw it on

2:49:36 23     the trash heap.     Defendants have not put forward any admissible

2:49:41 24     evidence as to that intent.      There's simply nothing there.      The

2:49:44 25     10-Ks do not show it, and we don't even get to questions of



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2:49:48   1    whether Sprint's use is good enough until they have met their

2:49:52   2    prima facie burden.     They've either got to show a three-year gap

2:49:57   3    and we can infer intent for that, or they have to show

2:49:59   4    circumstantial evidence of an intent not to resume use.          And

2:50:01   5    there is simply nothing.

2:50:03   6               Every single witness, including a third-party witness

2:50:08   7    who had direct knowledge of the time period at issue, when

2:50:12   8    Defendants say Sprint made the decision to abandon the mark,

2:50:17   9    testified that the intent was always to continue using Nextel.

2:50:21 10     Defendants are the one who have to make at least a prima facie

2:50:25 11     case before we even get into all the use evidence that there was

2:50:29 12     an intent to abandon Nextel, not to use Nextel.         They put in

2:50:33 13     nothing.   There is nothing on the record.

2:50:35 14                THE COURT:   All right.    I'll reserve on this one.

2:50:37 15                Next?

2:50:49 16                MS. WHEATLEY:     All right.   Sorry, Your Honor.    Got to

2:50:50 17     gather my notes.

2:50:53 18                Next Your Honor, I'd like to go through some of

2:50:57 19     Defendants' affirmative defenses where I don't think they have

2:51:03 20     put forward any evidence.       Defendants alleged an affirmative

2:51:08 21     defense of estoppel.       There has been no evidence of any

2:51:13 22     statement by Sprint on which Defendants reasonably relied to

2:51:19 23     their -- that is contrary to a later-asserted position that

2:51:23 24     Defendants relied on.       So I would say estoppel, it's still in

2:51:24 25     the joint pretrial order.



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2:51:29   1                THE COURT:     Where is there any evidence of that?

2:51:33   2                MR. KERNELL:     We concede that, Your Honor.

2:51:35   3                THE COURT:     All right.     Estoppel is out.

2:51:37   4                Next.

2:51:39   5                MS. WHEATLEY:        Defendants also alleged an affirmative

2:51:42   6    defense of laches, that remains in the joint pretrial order.

2:51:48   7    There has been no evidence whatsoever of any delay by Sprint in

2:51:51   8    taking action and certainly not outside of the.

2:51:54   9                THE COURT:     What evidence is there on laches?       I always

2:51:56 10     wanted to have a laches case.

2:51:58 11                 MR. KERNELL:     Well, you're welcome to take this on.

2:51:59 12                 THE COURT:     No.

2:52:00 13                 MR. KERNELL:     No, Your Honor that's fine.

2:52:03 14                 THE COURT:     Okay.     Laches is out.

2:52:06 15                 MS. WHEATLEY:        Defendants also allege an affirmative

2:52:09 16     defense of preemption.           I would say there is nothing in the

2:52:10 17     record regarding preemption.

2:52:14 18                 THE COURT:     What preemption are we talking about?

2:52:17 19                 MS. WHEATLEY:        I'm not sure, Your Honor.

2:52:19 20                 THE COURT:     I'm asking them.     I tilted my head

2:52:19 21     slightly.

2:52:21 22                 MR. KERNELL:     We concede, Your Honor.

2:52:23 23                 THE COURT:     Conceded.     Preemption is out.

2:52:24 24                 Next?

2:52:27 25                 MS. WHEATLEY:        Defendants also allege an affirmative



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2:52:34   1    defense of innocent infringement.       Defendants are not an

2:52:38   2    innocent publisher, and there is no mens rea for trademark

2:52:42   3    infringement, so I'm not sure what that is an affirmative

2:52:43   4    defense to.

2:52:45   5              THE COURT:     What does this mean and are you pursuing

2:52:46   6    this?

2:52:50   7              MR. KERNELL:     That would go to willfulness.

2:52:52   8              THE COURT:     Okay.   So are you saying that you still

2:53:00   9    have an affirmative defense of innocence?        Innocent, what is it?

2:53:03 10               MR. KERNELL:     Infringement.   Innocent infringement.

2:53:05 11     Yes, if we had a --

2:53:07 12               THE COURT:     Doesn't that mean that yes I did it, but I

2:53:08 13     didn't know that I was doing it?

2:53:10 14               MR. KERNELL:     Or that we didn't have the right to do

2:53:13 15     it.

2:53:16 16               MS. WHEATLEY:     Your Honor, innocent infringement is not

2:53:22 17     an affirmative defense to trademark infringement.         While they

2:53:24 18     can assert that they're not willful --

2:53:31 19               THE COURT:     It's a different matter.    I'll strike the

2:53:33 20     innocent infringement or whatever it's called.

2:53:34 21               Next.

2:53:35 22               MS. WHEATLEY:     Defendants also have an affirmative

2:53:41 23     defense of no damages.     Damages are not an element of Sprint's

2:53:45 24     claim and a showing of no damages since the primary relief is --

2:53:47 25               THE COURT:     Are you pursuing the no damages?



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2:53:50   1               MR. KERNELL:     Yes, Your Honor.     That is an element of

2:53:55   2    the claim for common law trademark infringement.

2:53:58   3               MS. WHEATLEY:     Your Honor --

2:54:00   4               MR. KERNELL:     There have been absolutely no damages

2:54:05   5    that Sprint has put forth in this case.

2:54:07   6               THE COURT:     Well, go ahead.

2:54:09   7               MS. WHEATLEY:     Your Honor, common law trademark

2:54:14   8    infringement has the same elements as federal trademark

2:54:18   9    infringement under Florida law.

2:54:22 10                THE COURT:     I believe that it does have the same.       I

2:54:27 11     think Plaintiff is right on this one.          Strike it.

2:54:29 12                Next.

2:54:31 13                MS. WHEATLEY:     Defendants also have an affirmative

2:54:34 14     defense of unclean hands in the joint pretrial order.            We would

2:54:38 15     submit that there has been no evidence of unclean hands put

2:54:39 16     forward.

2:54:40 17                THE COURT:     What is your position on unclean hands

2:54:44 18     other than COVID requirements?

2:54:47 19                MR. KERNELL:     That's fine, Your Honor.

2:54:48 20                THE COURT:     Strike.

2:54:54 21                MS. WHEATLEY:     Okay.   Defendants also put forth an

2:54:58 22     affirmative defense of lack of irreparable harm.            Irreparable

2:55:02 23     harm is -- lack of irreparable harm is not an affirmative

2:55:05 24     defense to trademark infringement, so we would submit this

2:55:07 25     should be stricken.



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2:55:10   1              THE COURT:     What is your position on lack of

2:55:11   2    irreparable harm.

2:55:13   3              MR. KERNELL:     That actually does go to -- you have to

2:55:19   4    show irreparable harm to be granted an injunction from use of a

2:55:23   5    trademark or for an injunction.         And that's what they are

2:55:24   6    seeking, an injunction.

2:55:28   7              MS. WHEATLEY:     Your Honor --

2:55:29   8              THE COURT:     It's an affirmative defense.      Just because

2:55:32   9    it has an element that they have to prove, that doesn't mean

2:55:38 10     that it's an affirmative defense.         I don't know.   Let me hear

2:55:40 11     from the Plaintiff.

2:55:44 12               MS. WHEATLEY:     Yes.    Precisely that.   It's not a proper

2:55:46 13     affirmative defense.

2:55:50 14               THE COURT:     I don't think there is -- that it is a

2:55:52 15     proper affirmative defense.        I could easily be wrong, and the

2:55:54 16     Eleventh Circuit would not be shy about telling me that I'm

2:55:59 17     wrong.   But I'll strike that also.

2:56:04 18               MS. WHEATLEY:     Defendants also raise an affirmative

2:56:12 19     defense of duplicative claims.        Again, I'm not sure how that's a

2:56:14 20     proper affirmative defense.

2:56:34 21               THE COURT:     What does that mean?     What is duplicative

2:56:36 22     about their claim?

2:56:37 23               MR. KERNELL:     Well, there are several --

2:56:38 24               THE COURT:     Get closer to the microphone.

2:56:42 25               MR. KERNELL:     I'm sorry.     Several of the trademark



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2:56:47   1    infringement counts, they are within the same statute, within

2:56:51   2    the same section of the code and so there are overlapping

2:56:53   3    counts.

2:56:56   4              MS. WHEATLEY:     Your Honor, they're distinct claims,

2:57:00   5    Sprint is entitled to maintain distinct claims that can be

2:57:04   6    proven using the same evidence.

2:57:12   7              THE COURT:     I'll strike duplicative claims as an

2:57:14   8    affirmative defense.

2:57:19   9              MS. WHEATLEY:     Your Honor, Affirmative Defense Number

2:57:23 10     10 we already dealt with, which is fraud on the USPTO so I would

2:57:29 11     say that should be stricken.         And I should add we would move for

2:57:31 12     judgment as a matter of law on their affirmative defense of

2:57:38 13     abandonment on the same ground as we moved for judgment as a

2:57:42 14     matter of law for their claims for abandonment and their

2:57:46 15     counterclaims.    They also allege failure to state a claim, but I

2:57:54 16     think that should not still be alleged, so I assume they are

2:57:56 17     dropping that.

2:58:01 18               THE COURT:     Are you pursuing failure to assert a claim?

2:58:01 19               MR. KERNELL:     No, Your Honor.

2:58:05 20               THE COURT:     Okay.     Next?

2:58:08 21               MS. WHEATLEY:     Finally Your Honor, they put forward

2:58:14 22     registration invalidity.         There has been no evidence of

2:58:20 23     registration invalidity in this matter.         And with the fraud

2:58:23 24     claim stricken, that could not be a basis for registration

2:58:24 25     invalidity.



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2:58:25   1              THE COURT:     What do you mean by a registration

2:58:28   2    invalidity?

2:58:30   3              MR. KERNELL:     That would be fraud.

2:58:31   4              THE COURT:     Okay.   Same ruling.

2:58:38   5              Are we done?

2:58:43   6              MS. WHEATLEY:     Your Honor, we would also move for

2:58:48   7    judgment as a matter of law on our affirmative claims.

2:58:51   8              THE COURT:     Tell me what you're talking about.

2:58:54   9              MS. WHEATLEY:     Our claims for counterfeiting, trademark

2:58:58 10     infringement, unfair competition, dilution and cybersquatting.

2:59:00 11               THE COURT:     You're asking for a directed verdict, is

2:59:02 12     that what it is?

2:59:02 13               MS. WHEATLEY:     Yes, Your Honor.

2:59:04 14               THE COURT:     Let me hear from the defense.

2:59:06 15               MR. SCHWARTZ:     Your Honor, defense would move under

2:59:10 16     Rule 50 for motion for judgment on those claims as to the lack

2:59:16 17     of evidence against us with regard to these particular claims

2:59:22 18     for counterfeiting.      They have not put forth any evidence that

2:59:26 19     they're actually using this product.       There's been no evidence

2:59:32 20     whatsoever that we competed with them.          They didn't put forth

2:59:35 21     any sales, there's no sales in the 10-K, they didn't put forth

2:59:40 22     any evidence of sales, and they're actually not seeking any

2:59:43 23     actual damages.    They're seeking statutory damages.

2:59:46 24               THE COURT:     They're seeking statutory damages and

2:59:49 25     they're telling you to stop.      They don't want you to do it



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2:59:54   1    anymore.     And their damages, I suspect -- well, I don't know.

3:00:03   2    That's their business.       I'm not going to give either side a

3:00:04   3    directed verdict at this point.

3:00:06   4                MS. WHEATLEY:     Okay, Your Honor.

3:00:17   5                Your Honor, I guess I would also move on the

3:00:21   6    counterfeiting and infringement of the chirp since they have no

3:00:24   7    abandonment defense with respect to those claims.

3:00:27   8                THE COURT:     So you're asking for what?

3:00:28   9                MS. WHEATLEY:     Moving for a directed verdict as to

3:00:33 10     counterfeiting of the chirp which is Count 8 of our claim.

3:00:36 11                 THE COURT:     I think that's a jury question for them to

3:00:39 12     determine whether it's been counterfeited or not.         I'll deny

3:00:42 13     that motion.     You just bring up, play it for them and let them

3:00:45 14     decide if that's a counterfeit or if it's maybe a different

3:00:51 15     chirp.     I don't know.    But don't play it a lot.    Or if you do,

3:00:54 16     don't play it as loud as you did because I'll get scared and

3:00:58 17     fall off my chair.       I'll hold you responsible.

3:00:58 18                 MS. WHEATLEY:     Thank you, Your Honor.

3:01:00 19                 THE COURT:     Thank you.   All right.

3:01:02 20                 So where are we now?

3:01:04 21                 MR. SCHWARTZ:     Well, the defense, even though you were

3:01:08 22     addressing the Plaintiff's motion, the defense was going to move

3:01:13 23     for a motion for judgment as a matter of law on Counts 8 and 9

3:01:17 24     as to the chirp, because they have not put forth not even a

3:01:21 25     scintilla of evidence that any of our products use the chirp at



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3:01:25   1    all.     Nothing.   Nothing came into this courtroom to suggest that

3:01:27   2    we -- our products use that chirp.

3:01:29   3                THE COURT:     I thought there was testimony that they

3:01:37   4    heard it in a commercial for one of the parties that is an agent

3:01:41   5    of the Defendants.       I thought that's what I heard.

3:01:44   6                MR. SCHWARTZ:     Your Honor, that was -- if you recall,

3:01:48   7    that private investigator, three and a half years after the fact

3:01:53   8    watching a You Tube video, claiming that he thought he heard the

3:01:58   9    chirp that lasted I think a second.       When you watch that video

3:01:58 10     --

3:02:00 11                 THE COURT:     I don't think that chirp is going to last

3:02:04 12     more than a split second because that's all it is.         But there

3:02:08 13     was testimony, I'll deny your motion.

3:02:09 14                 MS. WHEATLEY:     Your Honor -- okay.   Thank you, Your

3:02:09 15     Honor.

3:02:11 16                 THE COURT:     Yes.

3:02:15 17                 MS. WHEATLEY:     Mr. Kaplan did admit in his testimony:

3:02:18 18     Now, you agree that even though this was rejected, you and the

3:02:22 19     Defendants are using the Nextel chirp, right?        We're using, yes,

3:02:24 20     we're using the Nextel chirp.

3:02:29 21                 MR. KERNELL:     If I could address that, Plaintiff has

3:02:36 22     been very good about using that term "Nextel chirp" to refer to

3:02:40 23     both -- there was a trademark application called the Nextel

3:02:48 24     chirp.     A word mark Nextel chirp.    And yes, Mr. Kaplan had the

3:02:52 25     word Nextel chirp on his website, but then they also use it to



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3:02:59   1    refer to the sound mark.        So it's very confusing when they ask

3:03:04   2    that.   Mr. Kaplan was testifying to the word mark Nextel chirp,

3:03:05   3    there's no sound associated.

3:03:09   4              THE COURT:    Argue that to the jury and see if they buy

3:03:10   5    it.

3:03:14   6              What else do you have?

3:03:22   7              MR. SCHWARTZ:     The final point, Your Honor, Defendants

3:03:25   8    move for judgment as a matter of law on Count 4 as to the

3:03:30   9    trademark dilution and trademark tarnishment claims.           They've

3:03:37 10     not met their threshold burden, they've not put forth any

3:03:39 11     evidence that this is a household famous mark.          No evidence that

3:03:43 12     we diluted the mark.      No evidence to support that particular

3:03:45 13     subset of that particular claim.

3:03:47 14               THE COURT:    I heard people say that.       The jury may not

3:03:51 15     believe them, but I heard people say that that testified here.

3:03:54 16     Yes, ma'am.

3:03:57 17               MS. WHEATLEY:     Your Honor, in fact Mr. Kaplan directly

3:04:02 18     admitted the chirp mark was distinctive and famous, and

3:04:06 19     Mr. Calabrese in his testimony also admitted the chirp mark was

3:04:07 20     well known.

3:04:08 21               MR. SCHWARTZ:     We're talking about the Nextel

3:04:13 22     trademark.    Not the chirp mark.        This is in Count 4.   These

3:04:15 23     chirps are covered by Counts 8 and 9.

3:04:19 24               THE COURT:    Okay.     So you're talking about the Nextel

3:04:27 25     -- I'll deny that motion.        Next.



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3:04:28   1               MR. KERNELL:     I'm sorry, Your Honor.     May I address --

3:04:29   2               THE COURT:     Yes, you may.

3:04:32   3               MR. KERNELL:     So with the dilution claim, in

3:04:38   4    determining whether a mark is famous, a famous mark is -- and

3:04:47   5    this is from Brain Pharma versus Scalini, this is 858 F Supp 2d

3:04:58   6    1349, this is from the -- I believe the Southern District of

3:05:07   7    Florida.     And it says that a mark is famous if it is widely

3:05:12   8    recognized by the general consuming public of the United States

3:05:16   9    as a designation of source of the goods or services of the

3:05:25 10     owners mark.     And this is 15 USC 125 C 2 A.       And so to determine

3:05:29 11     whether a mark is recognized by the public, courts consider

3:05:33 12     factors such as the duration, extent and geographic reach of

3:05:35 13     advertising and publicity of the mark.

3:05:41 14                The testimony was that since the Nextel -- those Nextel

3:05:45 15     videos that we watched, I believe the latest one was 2008,

3:05:50 16     testimony from Mr. Shaughnessy that there was no -- any

3:05:57 17     advertising campaigns that were nationwide for Nextel.          Both

3:06:04 18     Mr. Wiley testified that it is a sub-brand, Nextel is a

3:06:08 19     sub-brand.     It is only in their business center.       They don't --

3:06:13 20     and the vast majority of their consumers do not use

3:06:16 21     push-to-talk, they don't use any Nextel services.         And that is

3:06:22 22     just of Sprint.     If you talk about all the customers across the

3:06:25 23     United States that use cellphones, that we are talking about a

3:06:30 24     very, very thin market of individuals that use this mark.

3:06:35 25                The second factor is the amount, volume and geographic



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3:06:40   1    extent of sales of goods or services offered under the mark.

3:06:45   2    There is absolutely no evidence of the amount, volume and

3:06:49   3    geographic extent.       There was nothing to say where any of these

3:06:55   4    devices were sold, or the amount that they've -- the amount of

3:06:58   5    the goods sold.

3:07:03   6               The extent of actual recognition of the mark.        Every

3:07:09   7    single -- the testimony that came from Plaintiff was from their

3:07:15   8    employees and an ex-employee.          None of them -- I mean, typically

3:07:24   9    to prove that point, you do a customer survey, you do the

3:07:27 10     general public.     It has to be of the general public, the

3:07:31 11     consuming public.       It's not consuming public of push-to-talk

3:07:36 12     devices.   It is has to be a household name whether you're here

3:07:37 13     or in Kansas City.

3:07:44 14                The extent of whether the mark was registered under the

3:07:50 15     Act, and it was, and so trademark dilution claims are limited to

3:07:54 16     truly famous marks such as Budweiser, Camel Cigarettes and

3:08:00 17     Barbie dolls.     This doesn't even come close to being a famous

3:08:01 18     mark.

3:08:05 19                So Your Honor -- and I have a copy for the Court if I

3:08:08 20     may?

3:08:08 21                THE COURT:     Of course.

3:08:17 22                Your turn.     Go ahead.

3:08:21 23                MS. WHEATLEY:     Your Honor, Mr. Kaplan admitted, and

3:08:27 24     here's his testimony:       It's your opinion, right, that the Nextel

3:08:31 25     brand is worth a minimum of 100 million?          Conservatively, yes.



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3:08:34   1              And you agree that the Nextel, the Nextel is a very

3:08:37   2    strong, strong trademark.      Yes.

3:08:39   3              And in fact, you agree it's iconic.

3:08:45   4              He also admitted earlier in his testimony, in fact it

3:08:48   5    was famous and iconic because my clients, Nextel and Sprint, had

3:08:52   6    made it famous and iconic, right?       Correct.

3:08:56   7              Mr. Kaplan has admitted fame.

3:09:00   8              THE COURT:    I'll deny your motion on that.

3:09:06   9              Next?   Anything further?

3:09:07 10               MR. SCHWARTZ:    Nothing further at this time.

3:09:09 11               THE COURT:    All right.    What's next?

3:09:12 12               MR. RIOPELLE:    So Your Honor, we would move to our

3:09:17 13     rebuttal case.    I think we're probably thinking next Wednesday,

3:09:18 14     next Thursday.

3:09:20 15               THE COURT:    Yeah, when we get around to it.

3:09:24 16               MR. RIOPELLE:    Just one issue, Your Honor, before we

3:09:35 17     bring the jury in.     We have a certified copy of Mr. Calabrese's

3:09:37 18     conviction.

3:09:39 19               THE COURT:    Give me the instruction on felony

3:11:00 20     conviction.    Okay.   Yeah.   Do you want this to come in or do you

3:11:03 21     want to stipulate that he's convicted of a felony?         I know you

3:11:05 22     don't agree, but I think it is.

3:11:07 23               MR. SCHWARTZ:    On that point we don't think it belongs

3:11:11 24     in.   He was asked the questions and he answered truthfully.

3:11:14 25               Second, they closed their case.       There's no issue of



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3:11:15   1    impeachment --

3:11:16   2              THE COURT:    This is rebuttal.

3:11:21   3              MR. SCHWARTZ:    -- in connection with the issue.       There

3:11:24   4    was nothing to rebut or impeach.

3:11:27   5              THE COURT:    Well, you put his testimony on and they are

3:11:31   6    permitted to impeach his testimony by showing that he was

3:11:34   7    convicted of a felony.

3:11:36   8              MR. SCHWARTZ:    This is an unusual situation, Your

3:11:40   9    Honor, and I just -- I disagree with the issue as to how they're

3:11:46 10     trying to do it.    I think the Court was inclined to, you know,

3:11:49 11     give him an opportunity, but I don't think they've met their

3:11:53 12     burden in order -- I think it's highly prejudicial, I think it

3:11:56 13     creates issues that could --

3:11:58 14               THE COURT:    They now have a certified copy of the

3:12:03 15     conviction from wherever it is, Northern District of, I forget,

3:12:09 16     and question is I believe it's admissible.        Do you want it to

3:12:12 17     come in and do you want to just stipulate to the fact that there

3:12:16 18     was -- over objection.     I know you don't think it should come in

3:12:18 19     at all, but I'm giving you the opportunity.        You can stipulate

3:12:25 20     to the felony, or we'll let him introduce this.         It's your call.

3:12:29 21     It would seem to me that there's more damaging stuff in this

3:12:31 22     than you'd want in.

3:12:32 23               MR. SCHWARTZ:    Of course, Your Honor.      So subject to

3:12:37 24     our objections, we'll stipulate that he's a convicted felon.

3:12:40 25               THE COURT:    Okay.   That he was convicted of a felony on



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3:12:44   1    such and such a date in the Northern District of whatever.          Is

3:12:46   2    that acceptable to the Plaintiff?

3:12:50   3              MR. RIOPELLE:     Yes.   I just want to know, do we tell

3:12:53   4    them what he's convicted of or just say convicted of a felony?

3:12:54   5              THE COURT:    I don't think it matters what he's

3:12:55   6    convicted of.

3:12:58   7              MR. RIOPELLE:     That may be -- and I just want to make

3:13:00   8    sure we're on the same page.

3:13:03   9              THE COURT:    Let me look and see exactly what the rule

3:13:05 10     says.

3:13:51 11               What was the date of his conviction?       2015, wasn't it?

3:13:54 12     2016.   2016.

3:14:00 13               MR. RIOPELLE:     June 28, 2016, Your Honor.

3:14:08 14               THE COURT:    I suggest that the cleanest way of doing it

3:14:16 15     is that counsel stand up and indicate that we would like to put

3:14:23 16     into the record that Stephen Calabrese, the Steven Calabrese,

3:14:29 17     who testified earlier, was convicted of a felony on June 28,

3:14:32 18     2016 in the United States District Court in the Northern

3:14:35 19     District of Illinois.      That's really about the extent of it.

3:14:38 20     Then you can -- there is an instruction that will be given to

3:14:41 21     the jury concerning things that they can consider as to

3:14:45 22     credibility, and you can make whatever argument you find is

3:14:51 23     appropriate on that.      Okay?

3:14:51 24               MR. SCHWARTZ:     Yes, Your Honor.

3:14:52 25               THE COURT:    All right.



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3:14:53   1                MR. RIOPELLE:   Can you just --

3:14:55   2                THE COURT:   You're not agreeing that it should come in,

3:14:58   3    but if it comes in, you want it to come in this way rather than

3:15:03   4    by putting in the 10 or 12 pages from the Northern District of

3:15:04   5    Illinois.

3:15:06   6                MR. SCHWARTZ:   You've given us the best opportunity

3:15:06   7    under the circumstances.

3:15:08   8                THE COURT:   Yes.    I'm sorry.   Yes, sir.

3:15:09   9                MR. RIOPELLE:   I want to make sure -- I don't have

3:15:14 10     real-time, I want to make sure I say exactly what the Court has

3:15:14 11     --

3:15:16 12                 THE COURT:   You'll be the first one in this case that

3:15:19 13     did that, but I would be happy to have you do so.

3:15:22 14                 What do you want me to say?

3:15:25 15                 MR. RIOPELLE:   Well no, you had just said it.      The

3:15:31 16     parties stipulate that the Defendant, Mr. Stephen Calabrese, who

3:15:35 17     testified in this case --

3:15:37 18                 THE COURT:   Earlier had been convicted of a felony on

3:15:42 19     June 28, 2016 in the United States District Court in the

3:15:44 20     Northern District of Illinois.

3:15:47 21                 MR. RIOPELLE:   Okay.

3:15:49 22                 THE COURT:   Got it?

3:15:50 23                 MR. RIOPELLE:   Got it.

3:15:53 24                 THE COURT:   Okay.     Then what then, are you through?

3:15:55 25                 MR. RIOPELLE:   And then we're through.



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3:15:58   1              THE COURT:    Then I suggest that we send the jury home

3:16:03   2    and that we give them -- we spend the rest of the afternoon

3:16:06   3    talking about jury instructions, or if you want to, it makes

3:16:10   4    more sense, unless you feel like you want to get out of town and

3:16:15   5    go home and take your wife out to dinner, is to give you the

3:16:19   6    instructions that we've -- in a little bit, because we have to

3:16:23   7    change them based on my rulings earlier.        And then you take them

3:16:26   8    home, work on them tonight and then tomorrow we can meet and

3:16:31   9    discuss it for hour, hour and a half in the morning.         I think

3:16:35 10     that should be plenty to go through all of the instructions.            Or

3:16:38 11     we could do it Monday morning and bring the jury back in at

3:16:39 12     10:30.

3:16:42 13               MR. RIOPELLE:    Let's not do that.     Can I consult with

3:16:43 14     my brain trust?

3:16:45 15               THE COURT:    Yes, of course.    And how long do you think

3:16:47 16     you might need for closing arguments?

3:16:52 17               MR. RIOPELLE:    I personally think the same as openings.

3:16:54 18     45 minutes each.

3:16:58 19               MR. SCHWARTZ:    Maybe do a little less, no more than

3:16:58 20     that.

3:17:00 21               THE COURT:    45 minutes is fine.     And the Plaintiff

3:17:03 22     would have -- can split it however you want to split it.          But

3:17:07 23     you have to have a full opening on it.

3:17:09 24               MR. RIOPELLE:    I get 45 minutes total, so I need to

3:17:11 25     tell you at the beginning what I'm reserving?



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3:17:13   1               THE COURT:    You don't have to tell me, whatever you

3:17:19   2    don't use you save.      Whatever you use is gone.    I thought -- I

3:17:22   3    had a lawyer that thought that when he told me he had 15 minutes

3:17:26   4    he would save at the end, when I told him your 30 minute are up

3:17:29   5    and he kept talking, he thought that he still had 15 minutes at

3:17:32   6    the end.     I tried to explain to him that didn't work that way,

3:17:34   7    that he had two minute left.

3:17:36   8               Yes, sir.

3:17:37   9               MR. SCHWARTZ:    One other point on behalf of my

3:17:41 10     colleague, Mr. Kernell.      You know, he was lives in Kansas and is

3:17:46 11     also devout, and is planning to celebrate this holiday weekend

3:17:50 12     and Easter Sunday.      Is there a chance we could have the jury

3:17:55 13     come in and, let's say, Monday right after lunch so that he can

3:17:57 14     get a flight on Monday morning versus trying --

3:18:00 15                THE COURT:    Yeah, we can do that.    I don't care.    Does

3:18:05 16     anybody really care about that?      I'm not feeling particularly

3:18:10 17     well, but that's not anything serious.       I've just got general

3:18:15 18     malaise for having sat through this trial for several days.          A

3:18:17 19     couple days' recovery time would be helpful to me.

3:18:30 20                No actually, off the record.

3:18:49 21                (Discussion off the record)

3:19:06 22                THE COURT:    Anyway, I don't care about starting at noon

3:19:10 23     on Monday.     Does the Plaintiff -- do you want to talk to the

3:19:12 24     brain trust again?

3:19:14 25                MR. RIOPELLE:    Yeah.   I mean, if it's so Mr. Kernell



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3:19:28   1    can get back, I'm not -- so I just want to see if --

3:19:32   2                (Counsel conferring)

3:19:59   3                MR. RIOPELLE:    My brain trust tells me that I should

3:20:02   4    defer.   Would the Court prefer to do it this afternoon or would

3:20:04   5    the Court prefer to do it tomorrow morning?

3:20:06   6                THE COURT:    I would prefer to do it tomorrow morning,

3:20:09   7    honestly.    But I don't really feel all that strongly about it.

3:20:14   8    I can zip through instructions as fast as you can imagine, but I

3:20:17   9    don't think you'd have a chance to have --

3:20:19 10                 MR. SCHWARTZ:    Do you have a preference?     I haven't

3:20:22 11     asked Mr. Kernell.       Do you have a preference?

3:20:29 12                 (Counsel conferring)

3:20:34 13                 MR. SCHWARTZ:    Let's just do it tomorrow morning.

3:20:36 14                 THE COURT:    All right.     We'll give you the instructions

3:20:40 15     in a little while.       Won't be long, and then we'll meet whatever

3:20:48 16     time you want.    I do not have any plans tomorrow morning so --

3:20:50 17                 MR. SCHWARTZ:    Probably would like to do it like 9 if

3:20:54 18     possible, because I assume what we'll do after this is rush back

3:20:57 19     and see if we can get at least plane flights for tomorrow,

3:20:59 20     noon-ish, or a little --

3:21:02 21                 THE COURT:    Correct.     And we should be finished before

3:21:05 22     lunch.   Before noon.

3:21:06 23                 MR. SCHWARTZ:    So 9 a.m., Your Honor?

3:21:09 24                 THE COURT:    Yeah, we can start at 9 a.m.

3:21:11 25                 MR. RIOPELLE:    I assume you'll tell the jury they've



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3:21:12   1    got tomorrow off.

3:21:16   2              THE COURT:    I'll bring them in and have tomorrow off.

3:21:18   3    Yes, we need to do that as soon as you're done.

3:21:21   4              All right.    Please bring the jury back in

3:21:24   5              COURT SECURITY OFFICER:      All rise for the jury.

3:21:29   6              (Jury in at 3:21 p.m.)

3:22:40   7              THE COURT:    Please be seated.

3:22:46   8              All right.    Ladies and gentlemen, we really haven't

3:22:49   9    been playing cards or anything, we've been doing the legal

3:22:53 10     issues that are raised at the end of one part of the case and

3:22:59 11     then the other part of the case, and now the Defendant has

3:22:59 12     rested.

3:23:04 13               Back to the Plaintiff for any rebuttal that you may

3:23:06 14     have.

3:23:11 15               MR. RIOPELLE:    Yes, Your Honor.     Very short.   The

3:23:17 16     parties stipulate that the Defendant, Stephen Calabrese, who

3:23:29 17     testified earlier today, was convicted of a felony on June 28,

3:23:31 18     2016 in the United States District Court for the Northern

3:23:32 19     District of Illinois.

3:23:34 20               THE COURT:    Okay.   Ladies and gentlemen, the reason

3:23:37 21     that that's brought up is that you may consider that fact as one

3:23:42 22     of the things that I tell you about later when you consider the

3:23:44 23     believability of a witness.      One of the factors that you may

3:23:49 24     consider is whether a witness has been convicted of a felony,

3:23:54 25     and I'm instructing you that Mr. Calabrese was, in fact,



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3:23:57   1    convicted of a felony, and you may consider that fact, not to

3:24:02   2    decide he's a bad guy or a good guy or whatever, but only to

3:24:05   3    determine whether you believe that witness's testimony.          It's

3:24:07   4    one of the factors that you may consider.

3:24:14   5              Now, here's what we're going to do.       We've got probably

3:24:20   6    several hours more of legal discussion that we have to do.

3:24:24   7    We're going to do that this afternoon and tomorrow morning.             I'm

3:24:28   8    not going to bring you back tomorrow after lunch to mess up your

3:24:34   9    Easter weekend or Passover weekend, so I'm going to let you go

3:24:41 10     until Monday at noon.     Monday at noon, come back.      Hey, you're

3:24:43 11     going to get off another week, you're not going to have the

3:24:48 12     responsibility to other juries to sit in a two-week period.

3:24:51 13     Anyway, we'll be done Monday and you'll make -- you'll have the

3:24:55 14     case in your hands before Monday afternoon, and at that point

3:24:58 15     you make your determination how long it takes you, what you're

3:25:03 16     going to be deciding.     And we'll hang around as long as you need

3:25:07 17     us to, or you can come back Tuesday.       There's no reason that

3:25:11 18     says this case took five days, therefore you need to take five

3:25:16 19     hours or ten hours or two hours or ten minutes.         It's your call.

3:25:18 20     What happens in the jury room stays in the jury room.

3:25:24 21               But just remember not to discuss the case with anyone,

3:25:27 22     even among yourselves.     Don't read or listen to anything

3:25:30 23     touching on the case.     Don't do any research or make any

3:25:33 24     investigation about the case on your own.        I know it would be

3:25:37 25     tempting to go on the computer and Google something.         Don't.



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3:25:39   1    Remember you must not have any contact with the attorneys,

3:25:44   2    parties or witnesses.     Finally remember you must not form any

3:25:47   3    opinion about this case on your own until all the evidence is

3:25:47   4    in.

3:25:50   5               All right?   I thank you, and Monday at noon we're going

3:25:56   6    to start then.    So eat a late breakfast or early lunch, be

3:25:59   7    seated so we can just go forward with the arguments and the

3:26:00   8    instructions at that point.

3:26:05   9               Have a great weekend.     Enjoy yourselves and we'll see

3:26:06 10     you Monday at noon.

3:26:08 11                COURT SECURITY OFFICER:     All rise for the jury.

3:26:11 12                (Jury out at 3:26 p.m.)

3:26:27 13                THE COURT:   All right.    We'll be back out with the

3:26:30 14     instructions -- I don't think all of you have to wait -- 20, 30

3:26:33 15     minutes, so you can either wait or leave somebody behind that

3:26:36 16     will bring them to you, and then you can look at them at your

3:26:39 17     leisure and we'll talk about them Monday morning, 9:00.          I'm

3:26:45 18     sorry, that's what I meant.      Tomorrow morning, 9:00.     I keep

3:26:50 19     thinking tomorrow is Monday.       I'm punchy from being up most of

3:26:51 20     the night, so I apologize.

3:26:55 21                All right?   We'll be in recess until 9:00 tomorrow

3:27:07 22     morning.   Tomorrow, you may want to get the exhibits in order so

3:27:13 23     that Monday we can give them to the jury if we need to.

3:27:13 24                (See Volume 7 for continuation)

3:27:13 25




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3:27:13    1                            C E R T I F I C A T E

3:27:13    2   I certify that the foregoing is a correct transcript from the
               record of proceedings in the above-entitled matter.
3:27:13    3
               4/14/2022                 /s/ Dawn M. Savino, R.P.R., C.R.R.
3:27:13    4   Date                          DAWN M. SAVINO, R.P.R., C.R.R.

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